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                           Exhibit 5
                                 to
Plaintiff's Rule 26 Statement of Expert
           Harris L. Devor

                            (Redacted)
                                                                                Exhibit #5.01
                                                       In Re Pharmaceutical Industry Average Wholesale Price Litigation
                                                               Barr -- 00555058202 -- Cefadroxil 500MG Capsule
                                                                      Computation of FUL Based on WAC



                                                                                                                                                                                  Difference
                                                                                                     Difference                                                                    between
                                                                                                      between                                                                     Published
                                                                                                     Published                                                                   FUL and FUL
                                                                                                     WAC and                      FUL Based on                                    Based on
                                        Estimated                            Published               Estimated                     Estimated                  Published           Estimated
Start Date     End Date                   WAC             Proxy                WAC                      WAC                           WAC                       FUL                  WAC
                                                            (a)
    4/1/1999       6/30/1999        $        212.33                          $       -           $           -                    $        318.50         $          -           $         -
    7/1/1999       9/30/1999                 207.27                                  -                       -                             310.90                    -                     -
   10/1/1999      12/31/1999                 207.22                                  -                       -                             310.83                    -                     -
    1/1/2000       3/31/2000                 204.89                                  -                       -                             307.34                    -                     -
    4/1/2000       6/30/2000                 195.97                               212.33                   16.36                           293.95                    -                     -
    7/1/2000       9/30/2000                 177.35                               212.33                   34.98                           266.02                    -                     -
   10/1/2000      12/31/2000                 154.79                               212.33                   57.54                           232.19                    -                     -
    1/1/2001       3/31/2001                 134.81                               212.33                   77.52                           202.22                    -                     -
    4/1/2001       6/30/2001                 114.10                               212.33                   98.23                           171.15                    -                     -
    7/1/2001       9/30/2001                 109.51                               212.33                  102.82                           164.26                    -                     -
   10/1/2001      12/31/2001                 108.79                               212.33                  103.54                           163.19                    -                     -
    1/1/2002       3/31/2002                 113.69                               212.33                   98.64                           170.54                 307.89                137.35
    4/1/2002       6/30/2002                 135.89                               212.33                   76.44                           203.84                 307.89                104.05
    7/1/2002       9/30/2002                 130.44                               212.33                   81.89                           195.66                 307.89                112.23
   10/1/2002      12/31/2002                 118.19                               212.33                   94.14                           177.29                 307.89                130.60
    1/1/2003       3/31/2003                 105.66                               212.33                  106.67                           158.48                 248.37                 89.89
    4/1/2003       6/30/2003                  62.83                               212.33                  149.50                            94.24                 248.37                154.13
    7/1/2003       9/30/2003                  53.39                               212.33                  158.94                            80.08                 248.37                168.29
   10/1/2003      12/31/2003                  45.10                               212.33                  167.23                            67.66                 248.37                180.71
    1/1/2004       3/31/2004                  23.39                               212.33                  188.94                            35.09                 248.37                213.28
    4/1/2004       6/30/2004                 (10.33)              23.39           212.33                  188.94                            35.09                 248.37                213.28
    7/1/2004       9/30/2004              (1,050.08)              23.39           212.33                  188.94                            35.09                 248.37                213.28
   10/1/2004      12/31/2004                (142.41)              23.39           212.33                  188.94                            35.09                 248.37                213.28
    1/1/2005       3/31/2005                 (98.46)              23.39           212.33                  188.94                            35.09                 248.37                213.28
    4/1/2005       6/30/2005                 (95.55)              23.39           212.33                  188.94                            35.09                 248.37                213.28
    7/1/2005       9/30/2005                 (78.16)              23.39           212.33                  188.94                            35.09                 248.37                213.28
   10/1/2005      12/31/2005                (123.35)              23.39           212.33                  188.94                            35.09                 248.37                213.28


         (a) Because of the timing of customer credits and rebates in the context of my rolling 12-month analysis, the formula I employed to determine an estimated measure of
             WAC sometimes rendered a negative amount. To account for such a result, I elected to use the most recent positive price computed as a proxy for the computed
             negative price (in most instances), or "zero" if there was not a computed positive price as of the end of either of the two preceding quarters. Further, if the computed
             price appeared to be an outlier from surrounding prices, a proxy was similarly employed using this approach. This note applies to all exhibits summarizing WAC
             computations subsequent hereto.
                                                                                                                                                                                                 Case 1:01-cv-12257-PBS Document 6128-5 Filed 06/15/09 Page 2 of 7
                                                                                Exhibit #5.02
                                                       In Re Pharmaceutical Industry Average Wholesale Price Litigation
                                                              Barr -- 00555058202 -- Cefadroxil 500MG Capsule
                                                                      Computation of FUL based on AWP



                                                                                                                                                                                  Difference
                                                                                                     Difference                                                                    between
                                                                                                      between                                                                     Published
                                                                                                     Published                                                                   FUL and FUL
                                                                                                     AWP and                      FUL Based on                                    Based on
                                        Estimated                            Published               Estimated                     Estimated                  Published           Estimated
Start Date     End Date                   AWP             Proxy                AWP                      AWP                           AWP                       FUL                  AWP
                                                            (a)
    4/1/1999       6/30/1999        $           -                            $    319.95         $        319.95                  $           -           $          -           $         -
    7/1/1999       9/30/1999                  83.33                               319.95                  236.62                           125.00                    -                     -
   10/1/1999      12/31/1999                  24.09                               319.95                  295.86                            36.13                    -                     -
    1/1/2000       3/31/2000                  39.29                               319.95                  280.66                            58.94                    -                     -
    4/1/2000       6/30/2000                  46.56                               319.95                  273.39                            69.84                    -                     -
    7/1/2000       9/30/2000                  45.59                               319.95                  274.36                            68.39                    -                     -
   10/1/2000      12/31/2000                  49.28                               319.95                  270.67                            73.92                    -                     -
    1/1/2001       3/31/2001                  45.47                               319.95                  274.48                            68.20                    -                     -
    4/1/2001       6/30/2001                  41.31                               319.95                  278.64                            61.97                    -                     -
    7/1/2001       9/30/2001                  40.97                               319.95                  278.98                            61.46                    -                     -
   10/1/2001      12/31/2001                  41.69                               319.95                  278.26                            62.54                    -                     -
    1/1/2002       3/31/2002                  42.56                               319.95                  277.39                            63.84                 307.89                244.05
    4/1/2002       6/30/2002                  40.49                               319.95                  279.46                            60.74                 307.89                247.15
    7/1/2002       9/30/2002                  38.89                               319.95                  281.06                            58.34                 307.89                249.55
   10/1/2002      12/31/2002                  38.22                               319.95                  281.73                            57.33                 307.89                250.56
    1/1/2003       3/31/2003                  36.67                               319.95                  283.28                            55.01                 248.37                193.36
    4/1/2003       6/30/2003                  38.00                               319.95                  281.95                            57.01                 248.37                191.36
    7/1/2003       9/30/2003                  38.54                               319.95                  281.41                            57.81                 248.37                190.56
   10/1/2003      12/31/2003                  38.78                               319.95                  281.17                            58.17                 248.37                190.20
    1/1/2004       3/31/2004                  39.14                               319.95                  280.81                            58.71                 248.37                189.66
    4/1/2004       6/30/2004                  37.92                               319.95                  282.03                            56.88                 248.37                191.49
    7/1/2004       9/30/2004                  (4.76)              37.92           319.95                  282.03                            56.88                 248.37                191.49
   10/1/2004      12/31/2004              (1,712.80)              37.92           319.95                  282.03                            56.88                 248.37                191.49
    1/1/2005       3/31/2005              (1,880.30)              37.92           319.95                  282.03                            56.88                 248.37                191.49
    4/1/2005       6/30/2005              (2,436.34)              37.92           319.95                  282.03                            56.88                 248.37                191.49
    7/1/2005       9/30/2005              (2,129.26)              37.92           319.95                  282.03                            56.88                 248.37                191.49
   10/1/2005      12/31/2005              (1,017.72)              37.92           319.95                  282.03                            56.88                 248.37                191.49




         (a) Because of the timing of customer credits and rebates in the context of my rolling 12-month analysis, the formula I employed to determine an estimated measure of
             AWP sometimes rendered a negative amount. To account for such a result, I elected to use the most recent positive price computed as a proxy for the computed
             negative price (in most instances), or "zero" if there was not a computed positive price as of the end of either of the two preceding quarters. Further, if the computed
             price appeared to be an outlier from surrounding prices, a proxy was similarly employed using this approach. This note applies to all exhibits summarizing AWP
                                                                                                                                                                                                 Case 1:01-cv-12257-PBS Document 6128-5 Filed 06/15/09 Page 3 of 7




             computations subsequent hereto.
                                         Exhibit #5.03
                In Re Pharmaceutical Industry Average Wholesale Price Litigation
                       Barr -- 00555058202 -- Cefadroxil 500MG Capsule
                               Computation of FUL based on AMP




                                                                                    Difference
                                                                                     between
                                                                                    Published
                                                                                   FUL and FUL
                                                 FUL Based           Published      Based on
Start Date     End Date            AMP            on AMP               FUL             AMP


    1/1/1997     3/31/1997     $          -       $        -     $       276.00    $       -
    4/1/1997     6/30/1997                -                -             276.00            -
    7/1/1997     9/30/1997                -                -             276.00            -
   10/1/1997    12/31/1997                -                -             276.00            -
    1/1/1998     3/31/1998                -                -             276.00            -
    4/1/1998     6/30/1998                -                -             276.00            -
    7/1/1998     9/30/1998                -                -                -              -
   10/1/1998    12/31/1998                -                -                -              -
    1/1/1999     3/31/1999                -                -                -              -
    4/1/1999     6/30/1999            80.14           120.21                -              -
    7/1/1999     9/30/1999            80.16           120.25                -              -
   10/1/1999    12/31/1999            30.51            45.77                -              -
    1/1/2000     3/31/2000            51.90            77.85                -              -
    4/1/2000     6/30/2000            42.28            63.42                -              -
    7/1/2000     9/30/2000            51.55            77.32                -              -
   10/1/2000    12/31/2000            37.00            55.50                -              -
    1/1/2001     3/31/2001            27.28            40.93                -              -
    4/1/2001     6/30/2001            29.22            43.84                -              -
    7/1/2001     9/30/2001            36.74            55.11                -              -
   10/1/2001    12/31/2001            34.17            51.25                -              -
    1/1/2002     3/31/2002            36.26            54.40             307.89         253.49
    4/1/2002     6/30/2002            24.41            36.61             307.89         271.28
    7/1/2002     9/30/2002            26.87            40.31             307.89         267.58
   10/1/2002    12/31/2002            29.58            44.37             307.89         263.52
    1/1/2003     3/31/2003            41.39            62.09             248.37         186.28
    4/1/2003     6/30/2003            34.38            51.57             248.37         196.80
    7/1/2003     9/30/2003            30.27            45.40             248.37         202.97
   10/1/2003    12/31/2003            30.27            45.40             248.37         202.97
    1/1/2004     3/31/2004              -                -               248.37            -
    4/1/2004     6/30/2004              -                -               248.37            -
    7/1/2004     9/30/2004            30.27            45.40             248.37         202.97
   10/1/2004    12/31/2004            30.27            45.40             248.37         202.97
                                                                                                 Case 1:01-cv-12257-PBS Document 6128-5 Filed 06/15/09 Page 4 of 7




    1/1/2005     3/31/2005            30.27            45.40             248.37         202.97
    4/1/2005     6/30/2005            30.27            45.40             248.37         202.97
    7/1/2005     9/30/2005              -                -               248.37            -
   10/1/2005    12/31/2005              -                -               248.37            -
                                                                          Exhibit #5.04
                                                In Re Pharmaceutical Industry Average Wholesale Price Litigation
                                                        Barr -- 00555058210 -- Cefadroxil 500MG Capsule
                                                                Computation of FUL Based on WAC



                                                                                                                                              Difference
                                                                                      Difference                                               between
                                                                                       between                                                Published
                                                                                      Published                                              FUL and FUL
                                                                                      WAC and               FUL Based on                      Based on
                                 Estimated                        Published           Estimated              Estimated          Published     Estimated
Start Date     End Date            WAC            Proxy             WAC                  WAC                    WAC               FUL            WAC

    4/1/1999     6/30/1999   $        111.94                      $      -        $           -              $     167.91   $          -     $       -
    7/1/1999     9/30/1999             96.82                             -                    -                    145.23              -             -
   10/1/1999    12/31/1999             86.54                             -                    -                    129.80              -             -
    1/1/2000     3/31/2000             88.07                             -                    -                    132.10              -             -
    4/1/2000     6/30/2000             83.42                          111.94                28.52                  125.13              -             -
    7/1/2000     9/30/2000             82.83                          111.94                29.11                  124.24              -             -
   10/1/2000    12/31/2000             66.15                          111.94                45.79                   99.22              -             -
    1/1/2001     3/31/2001             54.13                          111.94                57.81                   81.19              -             -
    4/1/2001     6/30/2001             47.01                          111.94                64.93                   70.51              -             -
    7/1/2001     9/30/2001             36.54                          111.94                75.40                   54.81              -             -
   10/1/2001    12/31/2001             39.82                          111.94                72.12                   59.72              -             -
    1/1/2002     3/31/2002             43.35                          111.94                68.59                   65.03           153.95         88.91
    4/1/2002     6/30/2002             42.23                          111.94                69.71                   63.35           153.95         90.59
    7/1/2002     9/30/2002             35.14                          111.94                76.80                   52.71           153.95        101.23
   10/1/2002    12/31/2002             31.12                          111.94                80.82                   46.68           153.95        107.27
    1/1/2003     3/31/2003             33.31                          111.94                78.63                   49.97           124.19         74.21
    4/1/2003     6/30/2003             27.95                          111.94                83.99                   41.93           124.19         82.26
    7/1/2003     9/30/2003             33.77                          111.94                78.17                   50.66           124.19         73.52
   10/1/2003    12/31/2003             27.89                          111.94                84.05                   41.83           124.19         82.36
    1/1/2004     3/31/2004             10.72                          111.94               101.22                   16.08           124.19        108.11
    4/1/2004     6/30/2004              5.77                          111.94               106.17                    8.65           124.19        115.54
    7/1/2004     9/30/2004         (1,541.21)           5.77          111.94               106.17                    8.66           124.19        115.53
   10/1/2004    12/31/2004           (263.83)           5.77          111.94               106.17                    8.66           124.19        115.53
    1/1/2005     3/31/2005           (149.57)           5.77          111.94               106.17                    8.66           124.19        115.53
    4/1/2005     6/30/2005            (79.00)           5.77          111.94               106.17                    8.66           124.19        115.53
    7/1/2005     9/30/2005            (48.93)           5.77          111.94               106.17                    8.66           124.19        115.53
   10/1/2005    12/31/2005            (35.18)           5.77          111.94               106.17                    8.66           124.19        115.53
                                                                                                                                                           Case 1:01-cv-12257-PBS Document 6128-5 Filed 06/15/09 Page 5 of 7
                                                                          Exhibit #5.05
                                                In Re Pharmaceutical Industry Average Wholesale Price Litigation
                                                        Barr -- 00555058210 -- Cefadroxil 500MG Capsule
                                                                Computation of FUL based on AWP



                                                                                                                                             Difference
                                                                                      Difference                                              between
                                                                                       between                                               Published
                                                                                      Published                                             FUL and FUL
                                                                                      AWP and               FUL Based on                     Based on
                                 Estimated                        Published           Estimated              Estimated         Published     Estimated
Start Date     End Date            AWP            Proxy             AWP                  AWP                    AWP              FUL            AWP

    4/1/1999     6/30/1999   $           -                        $   168.68      $        168.68            $       -     $          -     $       -
    7/1/1999     9/30/1999             50.60                          168.68               118.08                  75.90              -             -
   10/1/1999    12/31/1999             51.12                          168.68               117.56                  76.68              -             -
    1/1/2000     3/31/2000             27.05                          168.68               141.63                  40.58              -             -
    4/1/2000     6/30/2000             25.46                          168.68               143.22                  38.19              -             -
    7/1/2000     9/30/2000             25.39                          168.68               143.29                  38.08              -             -
   10/1/2000    12/31/2000             25.39                          168.68               143.29                  38.08              -             -
    1/1/2001     3/31/2001             24.99                          168.68               143.69                  37.49              -             -
    4/1/2001     6/30/2001             23.48                          168.68               145.20                  35.22              -             -
    7/1/2001     9/30/2001             22.54                          168.68               146.14                  33.80              -             -
   10/1/2001    12/31/2001             20.98                          168.68               147.70                  31.47              -             -
    1/1/2002     3/31/2002             21.05                          168.68               147.63                  31.57           153.95        122.37
    4/1/2002     6/30/2002             21.37                          168.68               147.31                  32.06           153.95        121.89
    7/1/2002     9/30/2002             21.24                          168.68               147.44                  31.86           153.95        122.08
   10/1/2002    12/31/2002             21.05                          168.68               147.63                  31.58           153.95        122.36
    1/1/2003     3/31/2003             21.22                          168.68               147.46                  31.84           124.19         92.35
    4/1/2003     6/30/2003             21.29                          168.68               147.39                  31.93           124.19         92.25
    7/1/2003     9/30/2003             21.50                          168.68               147.18                  32.26           124.19         91.93
   10/1/2003    12/31/2003             22.34                          168.68               146.34                  33.51           124.19         90.67
    1/1/2004     3/31/2004             21.89                          168.68               146.79                  32.84           124.19         91.35
    4/1/2004     6/30/2004             21.99                          168.68               146.69                  32.99           124.19         91.19
    7/1/2004     9/30/2004             14.61                          168.68               154.07                  21.91           124.19        102.28
   10/1/2004    12/31/2004           (780.84)          14.61          168.68               154.07                  21.91           124.19        102.28
    1/1/2005     3/31/2005         (1,103.02)          14.61          168.68               154.07                  21.92           124.19        102.27
    4/1/2005     6/30/2005         (2,504.75)          14.61          168.68               154.07                  21.92           124.19        102.27
    7/1/2005     9/30/2005         (1,193.02)          14.61          168.68               154.07                  21.92           124.19        102.27
   10/1/2005    12/31/2005           (213.00)          14.61          168.68               154.07                  21.92           124.19        102.27
                                                                                                                                                          Case 1:01-cv-12257-PBS Document 6128-5 Filed 06/15/09 Page 6 of 7
                                           Exhibit #5.06
                  In Re Pharmaceutical Industry Average Wholesale Price Litigation
                         Barr -- 00555058210 -- Cefadroxil 500MG Capsule
                                 Computation of FUL based on AMP




                                                                                       Difference
                                                                                        between
                                                                                     Published FUL
                                                    FUL Based                        and FUL Based
Start Date     End Date            AMP               on AMP          Published FUL      on AMP

    1/1/1997     3/31/1997     $          -         $      -         $      138.00   $        -
    4/1/1997     6/30/1997                -                -                138.00            -
    7/1/1997     9/30/1997                -                -                138.00            -
   10/1/1997    12/31/1997                -                -                138.00            -
    1/1/1998     3/31/1998                -                -                138.00            -
    4/1/1998     6/30/1998                -                -                138.00            -
    7/1/1998     9/30/1998                -                -                   -              -
   10/1/1998    12/31/1998                -                -                   -              -
    1/1/1999     3/31/1999                -                -                   -              -
    4/1/1999     6/30/1999              40.07            60.11                 -              -
    7/1/1999     9/30/1999              40.08            60.12                 -              -
   10/1/1999    12/31/1999              15.26            22.88                 -              -
    1/1/2000     3/31/2000              25.95            38.92                 -              -
    4/1/2000     6/30/2000              21.14            31.71                 -              -
    7/1/2000     9/30/2000              25.77            38.66                 -              -
   10/1/2000    12/31/2000              18.50            27.75                 -              -
    1/1/2001     3/31/2001              13.64            20.46                 -              -
    4/1/2001     6/30/2001              14.61            21.92                 -              -
    7/1/2001     9/30/2001              18.37            27.56                 -              -
   10/1/2001    12/31/2001              17.08            25.63                 -              -
    1/1/2002     3/31/2002              18.13            27.20              153.95         126.75
    4/1/2002     6/30/2002              12.20            18.30              153.95         135.64
    7/1/2002     9/30/2002              13.44            20.15              153.95         133.79
   10/1/2002    12/31/2002              14.79            22.18              153.95         131.76
    1/1/2003     3/31/2003              20.70            31.05              124.19          93.14
    4/1/2003     6/30/2003              17.19            25.79              124.19          98.40
    7/1/2003     9/30/2003              15.13            22.70              124.19         101.48
   10/1/2003    12/31/2003              15.13            22.70              124.19         101.48
    1/1/2004     3/31/2004                -                -                124.19            -
    4/1/2004     6/30/2004                -                -                124.19            -
    7/1/2004     9/30/2004              15.13            22.70              124.19         101.48
   10/1/2004    12/31/2004              15.13            22.70              124.19         101.48
    1/1/2005     3/31/2005              15.13            22.70              124.19         101.48
    4/1/2005     6/30/2005              15.13            22.70              124.19         101.48
                                                                                                     Case 1:01-cv-12257-PBS Document 6128-5 Filed 06/15/09 Page 7 of 7




    7/1/2005     9/30/2005              15.13            22.70              124.19         101.48
   10/1/2005    12/31/2005              15.13            22.70              124.19         101.48
